880 F.2d 415
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Gary B. MORRISON, et al., Plaintiffs-Appellants,v.Roberta STEINBACHER, Defendant-Appellant,andCharles Lopeman, et al., Defendants.
    No. 88-3505.
    United States Court of Appeals, Sixth Circuit.
    July 28, 1989.
    
      1
      Before KENNEDY and KRUPANSKY, Circuit Judges, and WENDELL A. MILES, Senior District Judge*.
    
    ORDER
    
      2
      In accordance with the agreement reached between the parties in settlement discussions conducted pursuant to Sixth Circuit Rule 18, the parties jointly move to remand this cause to the United States District Court for the Southern District of Ohio for determination of the parties' motion filed pursuant to Rule 60(b)(6), Federal Rules of Civil Procedure.
    
    
      3
      Upon consideration of the motion and further considering Judge Kinneary's agreement dated June 16, 1989,
    
    
      4
      IT IS ORDERED that the motion be and hereby is granted.  The cause is remanded to the District Court for further proceedings.  See First National Bank of Salem, Ohio v. Hirsch, 535 F.2d 343 (6th Cir.1976).
    
    
      
        *
         The Honorable Wendell A. Miles, U.S. Senior District Judge for the Western District of Michigan, sitting by designation
      
    
    